                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                    )   Chapter 11
                                                              )
    W. R. GRACE & CO., et al.,1                               )   Case No. 01-01139 (AMC)
                                                              )   (Jointly Administered)
                              Reorganized Debtor.             )
                                                              )   Re: Docket No. 929655

                  NOTICE OF FILING OF SETTLEMENT AGREEMENT
             RESOLVING STATE OF MONTANA’S REMAINING CLAIM 18496-1

                    PLEASE TAKE NOTICE that on January 10, 2023, the Reorganized Debtor

filed the Reorganized Debtor’s Motion to Approve Settlement Agreement Resolving State of

Montana’s Remaining Claim 18496-1 [Docket No. 929655] (the “Motion”), with the United

States Bankruptcy Court for the District of Delaware, 824 Market Street, Wilmington, Delaware

19801.

                    PLEASE TAKE FURTHER NOTICE that attached as Exhibit A to the Motion

was the proposed Order Approving Settlement Agreement Resolving State of Montana’s Claim

for Operating Unit 3 of the Libby Asbestos Superfund Site (the “Proposed Order”). Certain pages

of the Settlement Agreement (the “Settlement Agreement”) which was attached to the Proposed

Order as an exhibit were inadvertently omitted from the filing. Attached hereto as Exhibit 1 is a

complete copy of the Settlement Agreement with attachments.


Dated: February 2, 2023                              THE LAW OFFICES OF ROGER HIGGINS, LLC
                                                     Roger J. Higgins
                                                     516 N. Ogden Ave.
                                                     Suite 136
                                                     Chicago, IL 60642
                                                     Telephone: (312) 480-1984



1     W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc., or “Grace”) is the sole remaining “Reorganized
      Debtor,” and Case No. 01-1139 is the sole remaining open chapter 11 case.


DOCS_DE:242185.1 91100/001
and

PACHULSKI STANG ZIEHL & JONES LLP


/s/ James E. O’Neill
Laura Davis Jones (Bar No. 2436)
James E. O’Neill (Bar No. 4042)
919 North Market Street, 17th Floor
P.O. Box 8705
Wilmington, DE 19899-8705
Telephone: (302) 652-4100
Facsimile: (302) 652-4400

Co-Counsel for the Reorganized Debtor




      2
